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           [NOT YET SCHEDULED FOR ORAL ARGUMENT]
                 No. 25-5046 consolidated with 25-5047


     In the United States Court of Appeals
      for the District of Columbia Circuit
    AIDS VACCINE ADVOCACY COALITION AND JOUNRALISM
              DEVELOPMENT NETWORK, INC.,
                    Plaintiffs-Appellees,
                                    v.
                 U.S. DEPARTMENT OF STATE, et al.,
                        Defendants-Appellants

                  GLOBAL HEALTH COUNCIL, et al.,
                        Plaintiffs-Appellees,
                                    v.
  DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY AS PRESIDENT OF THE
              UNITED STATES OF AMERICA, ET AL.,
                    Defendants-Appellants.

    On Appeal from the U.S. District Court for the District of Columbia

APPELLEES’ JOINT OPPOSITION TO APPELLANTS’ MOTION FOR
  A STAY PENDING APPEAL AND CROSS-MOTION TO DISMISS

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                              INTRODUCTION

      After flouting the district court’s temporary restraining order for a full

twelve days in letter and in spirit—requiring the district court to not once, not

twice, but three times order compliance—Defendants bring this premature

appeal in a last-ditch effort to evade the order of an Article III court. This

Court should swiftly reject Defendants’ latest stalling tactic, deny their stay

motion, and dismiss the appeal for lack of jurisdiction.

      This case concerns the government’s abrupt and arbitrary freeze of

foreign-assistance funding. Implemented overnight through a series of agency

memoranda, the funding freeze upended hundreds of humanitarian projects

administered by longstanding private partners of the United States Agency

for International Development (USAID) and Department of State. By halting

disbursements to Plaintiffs—American businesses and nonprofits—even for

work they had already performed, and which already had been reviewed and

cleared for payment, the funding freeze plunged Plaintiffs into sudden

financial turmoil. Without funds to meet their operating expenses, which in

many cases they must continue to incur under the terms of their awards, the

funding freeze has left them facing imminent collapse. Already, Plaintiffs have

had to furlough or lay off thousands of American workers. In the coming days,



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they will suffer terminations of credit lines, evictions, insolvency, lawsuits from

vendors and others for work performed, and other irreparable harm that

threaten Plaintiffs’ very existence. Meanwhile, many of those who depend on

their programming face starvation, disease, and death. And Defendants

implemented that arbitrary and unconstitutional policy without so much as

acknowledging the grave reliance interests at stake.

      On February 13, 2025, after an adversarial hearing, the district court

found that Plaintiffs had established the requirements for a temporary

injunction, and it temporarily restrained the government from implementing

the blanket freeze of foreign-assistance funding pending preliminary

injunction proceedings that are ongoing. After Plaintiffs presented evidence

that the government failed to comply with the TRO, the district court again

ordered compliance on February 20 and 21. In response, the government

continued its non-compliance and sought “clarification” of the order, which was

already clear. When the government’s failure to unfreeze funds threated the

imminent insolvency of some Plaintiffs, the district court held another

emergency hearing, seeking information from the government on its

compliance efforts, which was not forthcoming, resulting in the February 25

minute order at issue here.



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      The government’s latest effort to skirt a binding judicial decree through

this appeal is both procedurally improper and legally unsound. First and

foremost, as this Court recently reiterated in rejecting the government’s

similar premature appeal in another case, “[p]reliminary injunctions are

appealable, but TROs generally are not.” Hampton Dellinger v. Bessent, No.

25-5028, 2025 WL 559669, at *4 (D.C. Cir. Feb. 15, 2025) (dismissing appeal

and denying motion to stay as moot). The purpose of a TRO is to preserve the

status quo to enable orderly adjudication. The government’s eleventh-hour

appeal defies that jurisdictional rule, asking this Court to weigh in on issues

the district court has not yet had the opportunity to decide (and the

government did not timely raise) without full factual development from the

ongoing preliminary injunction proceedings.

      Second, even if this Court had jurisdiction to hear the appeal, the

government would not be entitled to the relief it seeks. Review under the

Administrative Procedure Act of agency actions dictating grant and

contracting policy is entirely routine. And under the APA’s familiar standard,

agency actions that fail to grapple with important aspects of the problem, like

the challenged actions here, are arbitrary and capricious. Beyond that, the

government has woefully failed to show any irreparable harm from the order



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enjoining implementation of the chaotic funding freeze, whereas the

irreparable harm to Plaintiffs has been proven and is only mounting.

      At bottom, the government is not above the law, and the Court should

not countenance the utter disregard of an Article III court’s orders. The

appeal should be dismissed and motion to stay denied.

                               STATEMENT

      On the day he took office, President Trump issued an executive order

directing a wholesale freeze of congressionally appropriated foreign-

assistance funding to “align[]” that funding “with the foreign policy of the

President.” Exec. Order No. 14,169 at § 2, 90 Fed. Reg. 8619 (Jan. 20, 2025).

To implement that directive, the Secretary of State and officials at the United

States Agency for International Development (USAID) issued a series of

agency memoranda immediately halting all such funding pending review.1


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  See Memorandum from the Secretary of State, 25 STATE 6828 (Jan. 24,
2025) (Rubio Memo); USAID, Notice on Implementation of Executive Order
on Reevaluating and Realigning United States Foreign Aid (Jan. 24, 2025)
(Rodgers Guidance); USAID, Initial Instructions for Implementing
Executive Order Reevaluating and Realigning United States Foreign Aid
(Jan. 22, 2025) (Gray Initial Instructions); USAID, Follow-Up Instructions for
Implementing Executive Order Reevaluating and Realigning United States
Foreign Aid (Jan. 24, 2025) (Gray Follow-Up Instructions); USAID,
Clarification on Implementing the President’s Executive Order on
Reevaluating and Realigning United States Foreign Aid (Jan. 26, 2025) (Gray
Clarification).

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Abruptly cutting off all funding for humanitarian projects, those actions

plunged implementing partners, their employees, and the individuals who

depend on them into chaos. As the district court found, Plaintiffs—American

companies and nonprofits that have partnered with USAID and the

Department of State for decades—face extraordinary and irreparable harm

that threatens their very existence. Most have had to furlough or lay off vast

numbers of employees, and with creditors’ patience waning, imminently face

cancelation of credit lines, civil and regulatory actions for employment

violations, evictions, and even bankruptcy because they cannot meet their

operating expenses.

      Plaintiffs in the two cases below each filed suit asserting Administrative

Procedure Act and constitutional violations and sought a temporary

restraining order and preliminary injunction. After an adversarial hearing, the

court found that Plaintiffs had established a likelihood of success on their claim

that the funding freeze was arbitrary and capricious and met the other

requirements for preliminary relief. See Global Health Council v. Trump, No.

1:25-cv-00402 (GHC), ECF No. 21 (Feb. 13, 2025). The Court entered a

temporary restraining order enjoining Defendants from implementing the

challenged agency actions by, among other things, “suspending, pausing, or



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otherwise preventing the obligation or disbursement of appropriated foreign-

assistance funds in connection with any contracts, grants, cooperative

agreements, loans, or other federal foreign assistance award that was in

existence as of January 19, 2025.” Id. at 14.

      The Court also entered a scheduling order for preliminary injunction

proceedings that substantially adhered to Defendants’ proposed schedule,

directing that Plaintiffs’ reply be filed by February 27, 2025—only one day

after the date Defendants had requested. GHC, Minute Order (Feb. 14, 2025);

see also GHC ECF No. 23 (Feb. 14, 2025).

      Since then, Defendants have abjectly defied the court’s temporary

restraining order. In the twelve days since it issued, they had not disbursed a

single dollar to Plaintiffs or other implementing partners in response to the

TRO; have imposed further obstacles to obligation and disbursement; and

have issued blanket contract and grant terminations citing Executive Order

14169 as authority.

      On February 20, following adversarial briefing, the court granted in

substantial part Plaintiffs’ motion to enforce the TRO in related case AIDS

Vaccine Advocacy Coalition v. U.S. Department of State, No. 25-cv-400

(D.D.C.) (AVAC), Dkt. No. 30 (Feb. 20, 2025); GHC, Dkt. No. 28 (Feb. 20,



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2025). As the court explained, “the TRO is clear.” It reiterated that the order

prohibited Defendants from “suspending, pausing, or otherwise preventing

the obligation or disbursement of appropriated foreign-assistance funds in

connection with any contracts, grants, cooperative agreements, loans, or other

federal foreign assistance award that was in existence as of January 19, 2025.”

The next day, the court denied without prejudice as moot Plaintiffs’ motion to

enforce the TRO in GHC, explaining that, under the court’s orders,

Defendants “are to immediately cease [the blanket suspension of funds] and

to take all necessary steps … disburse all funds” payable under Plaintiffs’

award documents. GHC, Minute Order (Feb. 21, 2025) (alteration in original

and citation omitted).

      Unsatisfied with that result, Defendants sought “clarification.” GHC

ECF No. 34 (Feb. 21, 2025). And the court again reiterated: “The line here is

unambiguous. Defendants cannot continue to suspend programs or

disbursements based on the blanket suspension that was temporarily

enjoined.” GHC ECF No. 35, at 2–3 (Feb. 22, 2025). As the court explained,

the TRO’s effect was “to restore the status quo as it existed before Defendants’

blanket suspension of congressionally appropriated funds.” Id. at 2.

      Still, Defendants took no action whatsoever to comply with the TRO’s



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requirement that they lift the funding freeze the court found was likely

unlawful. With several Plaintiffs on the verge of insolvency without their

funding, Plaintiffs again moved to enforce the TRO, but limited the emergency

relief to disbursements for work already completed before the funding freeze

took effect. GHC ECF No. 36. After government counsel could not identify

any action the government had taken to unfreeze funds, the court again

ordered the Defendants to comply with the TRO it had issued nearly two

weeks before. GHC, Minute Order (Feb. 25, 2025); see GHC ECF No. 37, at

35:25–36:19 (Feb. 25, 2025) (offering no answer to the court’s question of

“whether any funds that you’ve kind of acknowledged are covered by the

Court’s order have been unfrozen”). Specifically, the court directed that “[b]y

11:59 p.m. on February 26, 2025, the restrained defendants shall pay all

invoices and letter of credit drawdown requests on all contracts for work

completed prior to the entry of the Court’s TRO.” GHC ECF No. 37, at 57:25–

58:12.

         Defendants noticed an appeal from the district court’s minute order,

and—in the early morning hours of the day by which the court had ordered

them to comply—sought an emergency stay pending appeal.




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                                ARGUMENT

      For twelve days, Defendants have stonewalled and abjectly defied the

district court’s unambiguous temporary restraining order. Now that the court

has ordered compliance by a date certain, Defendants for the first time on

appeal assert that compliance will not be possible for weeks to come. That

assertion—which Defendants had every opportunity to make before the

district court, but did not—simply beggars belief. This is not a question of

payment volume or velocity. Defendants have disbursed essentially no funds

since the district court ordered them to lift the unlawful funding freeze. And

any purported impediments to unfreezing payments are of the government’s

own making. It should not benefit from its “ready, fire, aim” chaotic effort to

arbitrarily dismantle foreign-assistance programs.

      The general rule that temporary restraining orders are not appealable

serves to safeguard against exactly this sort of gamesmanship and disruption

of the orderly adjudicatory process. The Court should not countenance

Defendants’ latest effort at delay while Plaintiffs’ irreparable harms continue

to mount. It should deny the stay application and dismiss the appeal for lack

of jurisdiction.




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I.    The Court Should Dismiss Defendants’ Appeal For Lack Of
      Jurisdiction

      This Court lacks jurisdiction over an appeal from a TRO. As this Court

reiterated just two weeks ago in rejecting a similarly premature appeal,

“TROs generally are not” appealable. Dellinger v. Bessent, No. 25-5028 (D.C.

Cir. Feb. 15, 2025), 2025 WL 559669, at *4. “[T]here is no statutory provision

for the appeal of a temporary restraining order.” Id. (quoting Wright & Miller,

Fed. Prac. & Proc. Civ. § 2951 (3d ed. June 2024 update); see also Adams v.

Vance, 570 F.2d 950, 953 (D.C. Cir. 1978) (“The grant of a temporary

restraining order under Rule 65(b), Fed. R. Civ. P., is generally not

appealable.”). And here, the government seeks something even more

extraordinary than appellate review of a TRO itself. It seeks review of an order

directing Defendants simply to take steps to comply with a TRO. The

government does not point to a single source of authority to suggest that this

Court—or any other federal court of appeals—has determined that

jurisdiction lies from such an appeal. And it bears the burden to establish this

Court’s appellate jurisdiction. Dellinger, 2025 WL 559669, at *5; see Kokkonen

v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).

      Sound reasons underlie the rule barring interlocutory review of a TRO.

Permitting appeals of a TRO—and certainly an order, like the one challenged


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here, that merely sets a date for compliance with a subset of the temporary

relief the court has already ordered—frustrates “congressional policy against

piecemeal review.” Salazar ex rel. Salazar v. District of Columbia, 671 F.3d

1258, 1261 (D.C. Cir. 2012) (quoting Carson v. American Brands, Inc., 450

U.S. 79, 84 (1981)). And it asks this Court to “prejudge[] … significant issue[s]”

that the district court has had no opportunity to decide on an incomplete

record. Dellinger, 2025 WL 559669, at *5.

      And newly imposed approval processes at USAID are creating an

artificial bottleneck that will only serve to slow disbursements to a standstill.

Since the TRO, USAID has restricted the processing of all USAID payments

to limited personnel in five regional hubs: Jordan, Ghana, South Africa, San

Salvador, and Bangkok. Decl. of Zan Northrip ¶ 8, GHC ECF No. 36-2. As of

a week ago, South Africa now has only “five employees to examine and certify

vouchers for 16 countries” (whereas South Africa “usually has 20 employees

. . . who process vouchers for six countries”). Decl. of Emilia Doe ¶ 15, Am. Fed.

Gov’t Empls. v. Trump, No. 25-cv-352 (D.D.C. Feb. 17, 2025), ECF No. 36-3

(emphasis added). Only 50 people worldwide are able to process payments

using USAID’s payment system, known as Phoenix. Id. And now every

payment request—including for existing awards and for work already



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performed—must be individually approved by a single political appointee in

Washington: Assistant to the Administrator for Management and Resources

Ken Jackson. Northrip Decl. ¶ 8.

      That number may be lower now, as Defendants have been terminating

USAID’s personnel in just the last few days. The agency’s website—

www.usaid.gov—has been replaced with a “Notification of Administrative

Leave” and information for how personnel can recover personal belongings

left in the Reagan Building before they were suddenly and without warning

locked out. The notification provides: “As of 11:59 p.m. EST on Sunday,

February 23, 2025, all USAID direct hire personnel, with the exception of

designated personnel responsible for mission-critical functions, core

leadership and/or specially designated programs, will be placed on

administrative leave globally.”

      Needless to say, the district court is best positioned to weigh conflicting

evidence in the first instance, and this Court’s intervention “would throw a

monkey wrench into the district court proceedings.” Dellinger, 2025 WL

559669, at *5.

      All of the factors the Court identified in Dellinger support dismissing

this appeal. The government expressly asks this Court to make merits



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determinations about what it acknowledges (at 13) is “an intricate statutory

scheme,” essentially seeking a final adjudication of weighty legal issues in a

posture where Plaintiffs have less than 12 hours to respond. See Dellinger,

2025 WL 559669, at *5. To support its claim of irreparable harm, the

government makes untested (and disputed) assertions about the agency

decisionmaking process, the information supporting implementing partner

invoices, and the government’s ability to recover disbursed funds. See App.

225–30; Dellinger, 2025 WL 559669, at *5 (observing that accepting “a party’s

bare assertion of ‘extraordinary harm’” as ground for appeal would

“incentivize more requests for two-day rulings”). And the district court set a

briefing schedule for the preliminary injunction substantially identical to what

Defendants’ requested and has repeatedly indicated it would rule with

“expedition.” Dellinger, 2025 WL 559669, at *5; see GHC, Minute Order (Feb.

14, 2025).

      The government is also mistaken (at 21) that its “rights will be

irretrievable lost absent review.” Berrigan v. Sigler, 475 F.2d 918, 919 (D.C.

Cir. 1973). All the district court’s order does is preserve the status quo ante

the unlawful funding freeze adopted last month. For decades, the government

has obligated and disbursed congressionally appropriated foreign-assistance



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with extraordinarily low rates of improper payments and successfully

recovered substantially all funds that were disbursed in error. GHC ECF 29,

at 10–11 & n.7. And as the district court found, and the government does not

dispute, its novel blanket funding freeze imminently threatens the very

existence of its longstanding implementing partners. GHC ECF 21, at 5–8.

Preserving that status quo pending an orderly determination of Plaintiffs’

motion for a preliminary injunction falls well within the proper bounds of a

temporary restraining order.

II.   Defendants Are Not Entitled To A Stay

      Even if this Court had jurisdiction, Defendants would not be entitled to

a stay. A stay pending appeal is “an exercise of judicial discretion,” and “is not

a matter of right, even if irreparable injury might otherwise result.” Nken v.

Holder, 556 U.S. 418, 433 (2009) (citations omitted). In assessing whether

Defendants have met that stringent standard, the Court considers “(1)

whether the stay applicant has made a strong showing that he is likely to

succeed on the merits; (2) whether the applicant will be irreparably injured

absent a stay; (3) whether issuance of the stay will substantially injure the

other parties interested in the proceeding; and (4) where the public interest

lies.” Id. at 434 (citation omitted). Defendants satisfy none of those criteria.



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      A.    Defendants Have Made No “Strong Showing” That They Are
            Likely To Succeed On The Merits

      Defendants advance three arguments for why they should prevail on the

merits, but none of these underdeveloped positions withstands even cursory

scrutiny, much less provides a basis to upend the ordinary adjudicatory

process.

      First, Defendants are wrong (at 9–13) that the temporary restraining

order usurps the President’s authority to faithfully execute the laws—a

nonjurisdictional argument that they never advanced below. Tellingly, they

cite zero authority for the proposition that an order that might require the

government to release congressionally appropriated and obligated funds

somehow intrudes on executive-branch prerogatives. But both the Supreme

Court and this Court have held that the APA permits specific relief that “may

obligate the United States to pay the complainant.” Crowley Gov’t Servs., Inc.

v. GSA, 38 F.4th 1099, 1107 (D.C. Cir. 2022) (quoting Kidwell v. Dep’t of Army,

Bd. for Correction of Mil. Recs., 56 F.3d 279, 284 (D.C. Cir. 1995)); see Bowen

v. Massachusetts, 487 U.S. 879, 901 (1988) (suit to enforce mandate that

government “‘shall pay’ certain amounts for appropriate Medicaid services, is

not a suit seeking money in compensation for damage” and is permissible

under the APA (quoting 42 U.S.C. § 1396b)).


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      That agency leadership have raised “questions about waste fraud, abuse,

and even illegal payments,” Mot. 10 (citation omitted), does not exempt agency

actions from judicial review or transform an otherwise permissible order into

a separation-of-powers problem. To the contrary, Crowley involved a

purported “audit” of a contractor’s invoices—agency action the Court held a

court would have authority declare unlawful and enjoin. Crowley, 38 F.4th at

1103, 1111. The government’s position would defeat the APA’s presumption of

judicial review every time an agency shouted “fraud!”. No precedent supports

that outcome, and the government cites none.

      And Defendants’ assertions that foreign-assistance payments lack

“integrity” is utterly farcical and supported by no evidence or reasoning. To

begin, Defendants have identified no evidence whatsoever that any paused or

delayed disbursement—to Plaintiffs, their members, or any other

implementing partner—would be fraudulent. Moreover, the agencies already

have mechanisms to protect against fraud, waste, and abuse. For example,

USAID has adopted comprehensive guidance governing the process by which

it disburses funds to implementing partners, including detailed protocols to

prevent fraudulent or otherwise improper payments. See USAID, Automated

Directive System chs. 630 & 636 (rev. 2019). In fiscal year 2024, for example,



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USAID made $4.04 million in overpayments (out of an agency budget of $40

billion), of which all but $80,000 were recovered by the agency—a recovery

rate of 97.95%, which is higher than that of nearly every other agency.2 In

addition, the Payment Integrity Information Act of 2019, Pub. L. 116–117,

requires agencies to “assess the risk of, estimate, report, reduce, and recover

improper payments,” and in the most recent fiscal year, an independent

accountant found that USAID and all of its programs were “in compliance.”

USAID, Office of Inspector Gen., USAID Complied with the Payment

Integrity Information Act of 2019 for Fiscal Year 2023, Report 0-000-24-006-

C (May 28, 2024). And each entity receiving $1 million or more in federal

funding must also undergo an audit and share the findings of the audit with

each federal funding source. See 2 C.F.R. § 200.501.

      Moreover, Defendants’ supposed interest in combatting fraud is belied

by other actions they have taken to implement the funding freeze. As reported

by the USAID Inspector General, “staffing shortages and limitations on

communications with aid organizations stemming from the cessation of U.S.

foreign assistance have limited USAID’s ability to receive, react to, and report



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   See PaymentAccuracy.gov, Annual Improper Payments Datasets,
https://www.paymentaccuracy.gov/payment-accuracy-thenumbers/.

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allegations of diversion.” USAID, Office of Inspector Gen., Oversight of

USAID-Funded Humanitarian Assistance Programming Impacted by

Staffing Reductions and Pause on Foreign Assistance (Feb. 10, 2025).

Defendants fired the Inspector General immediately after this report was

released. See Ellen Knickmeyer, White House fires USAID inspector general

after warning about funding oversight, officials say, AP (Feb. 11, 2025),

https://apnews.com/article/usaidamerican-companies-layoffs-lawsuit-

8c116d877c179169fbce2d3348fcd997.

      Second, neither the Contract Disputes Act nor the Tucker Act divested

the district court of jurisdiction. At the outset, Defendants openly

acknowledge that even claims asserted under many of Plaintiffs’ individual

award documents would lack a home in the Court of Federal Claims. See Mot.

15 (“To the extent that some of the funding instruments at issue in this case

are procurement contracts, any dispute about payment … would be governed

by the Contract Disputes Act … . (emphasis added); id. (“For other

instruments, the Tucker Act may provide a remedy … . (emphasis added)).

But many Plaintiffs and their members are not contractors (much less

procurement contractors), and they include those operating under cooperative

agreements and subawards to whom neither the CDA nor Tucker Act apply.



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See United States Enrichment Corp. v. United States, 117 Fed. Cl. 548, 553

(2014); see, e.g., GHC ECF 7-3, ¶¶ 8, 22 (cooperative agreements); GHC ECF

7-4, ¶ 4 (cooperative agreements, sub-agreements); GHC ECF 7-5, ¶ 5

(cooperative agreements); GHC, Dkt. 7-1, ¶ 10 (cooperative agreements);

GHC ECF 7-8, ¶¶ 7-8 (prime cooperative agreements, subawards,

subcontracts); GHC ECF 7-9, ¶ 7 (subawards). The district court needed

jurisdiction only over a single Plaintiff’s claims to review the challenged

agency actions under the APA and to set those actions aside. See, e.g., Nuclear

Energy Inst., Inc. v. EPA, 373 F.3d 1251, 1266 (D.C. Cir. 2004). Defendants’

failure to even contend that all of them should have proceeded in the Court of

Federal Claims is reason enough to conclude Defendants are unlikely to

succeed on this point.

      In any event, Plaintiffs do not assert claims for breach of the terms of

their individual awards, and so neither the CDA nor Tucker Act affect where

they may file. As the district court observed in denying the government’s

request for a stay, “Defendants’ instant motion does not meaningfully engage

with the large body of precedent on this question.” GHC ECF No. 41, at 5.

Under both the Tucker Act and Contract Disputes Act, the critical inquiry is

whether a claim “is at its essence a contract claim.” Crowley, 38 F.4th at 1106



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(quoting Megapulse, Inc. v. Lewis, 672 F.2d 959, 967 (D.C. Cir. 1982)); see A&S

Council Oil Co. v. Lader, 56 F.3d 234, 240 (D.C. Cir. 1995) (applying the

Megapulse standard to the Contract Disputes Act). And neither “the source

of rights” upon which Plaintiffs base their claims nor “the type of relief sought”

sound in contract. Crowley, 38 F.4th at 1106 (quoting Megapulse, 672 F.2d at

967). From the outset, Plaintiffs challenged Defendants’ sweeping agency

actions: memoranda that froze foreign assistance funding wholesale rather

than relying on any individualized determinations. See, e.g., Compl. ¶ 96-97,

GHC ECF No. 1. The remedies Plaintiffs seek, too, are those quintessentially

available under the APA and not in contract—vacatur and an injunction

against implementing those unlawful agency actions, including by “freezing,

pausing, or otherwise preventing the obligation or disbursement of

appropriated foreign-assistance funds.” GHC ECF No. 4-1, at 1–2.

      To the extent that this case “has gone terribly off track” and become “an

agglomeration of countless individual breach-of-contract suits,” Mot. 13, that

is a problem entirely of the government’s own making. After the district court

entered its TRO, Defendants sought to justify their continued noncompliance

based on a series of en masse award terminations that the district court all but

found represented “a post hoc rationalization.” GHC ECF No. 37, at 40:10–23.



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But those terminations are not the subject of the limited order that

Defendants now appeal. That order directed compliance with the TRO only as

to payments “for work completed prior to the entry of the Court’s TRO”—that

is, work performed before the terminations. Id. at 57:25–58:15. Regardless, the

Court of Federal Claims’ exclusive jurisdiction turns only on “the face of the

complaint,” not whether an asserted defense might “require[] some reference

to or incorporation of a contract.” Crowley, 38 F.5th at 1107–08.

      Third, sovereign immunity presents no obstacle to Plaintiffs’ claims. As

discussed above, neither the CDA nor Tucker Act displace the APA’s waiver

here. And to the extent the government suggests (at 14) that the TRO exceeds

that waiver by awarding money damages, the Supreme Court’s decision in

Bowen squarely forecloses that position. There, the Court allowed an

injunction under the APA compelling the government to release grant funds

wrongfully withheld. Bowen, 487 U.S. at 910. The Court held that such an

order was “for specific relief … rather than for money damages” because it

directed the disbursement of specific funds rather than awarding

compensation. Id. Thus, it was “within the District Court’s jurisdiction under

§ 702’s waiver of sovereign immunity.” Id.




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      B.    Defendants Will Not Be Irreparably Harmed Absent A Stay

      The government’s position calls to mind “the old saw about the child who

murders his parents and then asks for mercy because he is an orphan.” Fog

Cutter Cap. Grp. Inc. v. SEC, 474 F.3d 822, 826 (D.C. Cir. 2007). To prove

irreparable harm, a party must show harm that is “both certain and great” and

“actual and not theoretical.” Wis. Gas Co. v. FERC, 758 F.2d 669, 674

(D.C.Cir.1985). Equally importantly, the harm must “directly result from the

action” at issue and “cannot arise from the [party]’s own actions.” Safari Club

Int’l v. Jewell, 47 F. Supp. 3d 29, 33 (D.D.C. 2014) (quotation marks omitted).

Indeed, “it is well-settled that a [party] does not satisfy the irreparable harm

criterion when the alleged harm is self-inflicted.” Ardelyx, Inc. v. Becerra, No.

24-CV-2095 (BAH), 2024 WL 5186613, at *11 (D.D.C. Dec. 20, 2024) (cleaned

up). A party cannot “be heard to complain about damage inflicted by its own

hand.” Pennsylvania v. New Jersey, 426 U.S. 660, 664 (1976).

      To begin, the Defendants’ claimed harms are entirely self-inflicted.

Defendants complain (at 21–22) that if they pay Plaintiffs on invoices that are

already approved for work already completed, and those invoices turn out to

be fraudulent, then it might not be able to recover those funds, if Plaintiffs

spend them too quickly. But the only reason Plaintiffs are in the desperate



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position they are in now is because the government has driven them nearly

into insolvency—first by adopting the policies that the district court found are

likely arbitrary and capricious, and then by refusing to take any action

whatsoever to comply with the court’s temporary restraining order in the

nearly two weeks it has remained in force. The government should not be

rewarded with a stay for its flagrant defiance and intransigence.

          In any event, as a matter of fact, the government’s fears are unfounded.

As discussed above, independent audits show USAID has extremely low rates

of overpayments and extremely high rates of recovering any improperly

disbursed funds. Defendants’ unsupported assertion (at 10) that there are

“questions” about fraud falls far short of justifying extraordinary emergency

relief.

          C.   The    Equities      Disfavor     Defendants’      Eleventh-Hour
               Application

          The equities strongly disfavor Defendants’ last-minute attempt to derail

orderly adjudication after ignoring the district court’s order for twelve days.

As the district court found in denying Defendants’ stay application,

“Defendants have had nearly two weeks to come into compliance, apparently

without taking any meaningful steps to unfreeze funds.” GHC ECF No. 41, at

3–4. Nor did Defendants difficulties complying with the Court’s deadline “at

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the hearing or any time before filing their notice of appeal,” “even though

Plaintiffs’ motion to enforce explicitly proposed compliance on this time

frame.” Id. at 3. In any case, the balance of equities would overwhelmingly

favor Plaintiffs, who, as the district court found, imminently face staggering

and irreparable harms.

      First, it is difficult to overstate the level of defiance that prompted the

district court’s order directing compliance by a date certain. In the days

following the TRO, Defendants issued no guidance to agency personnel about

how they should comply with the court’s unambiguous order barring them

from “suspending, pausing, or otherwise preventing the obligation or

disbursement of appropriated foreign-assistance funds.” GHC ECF No. 21, at

14; see GHC ECF No. 29-3, at 1–2; GHC ECF No. 29-5, at 2–3. Instead, per

internal agency correspondence, the Secretary of State issued an additional

“15-day disbursement pause” on all State Department grants. GHC ECF No.

29-1, at 1. Meanwhile, Defendants apparently imposed additional barriers to

payments, including stripping line-level officers most familiar with the

relevant awards of authority to make disbursements and channeling

purported “review” of payments through a handful of political appointees. See,

e.g., Decl. of Ellie Doe ¶¶ 9–15, GHC ECF No. 42-3; Decl. of Della Doe ¶¶ 7–



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11, GHC ECF No. 42-2; Decl. of Clara Doe ¶¶ 11–15, GHC ECF No. 42-4;

Northrip Decl. ¶ 8, GHC ECF No. 29-6; see also Second Marocco Decl., Ex. C,

GHC, ECF No. 39-1; Mot. to Enforce at 7, GHC ECF No. 29 (describing

artificial bottleneck). On top of barriers within the agencies, public reporting

reflects that even payments apparently approved under the agency’s all-but

illusory waiver process were “veto[ed]” by detailees from the U.S. DOGE

Service.3 And Defendants started papering over the blanket funding freeze the

district court had restrained with hundreds of individual terminations made in

“tranches” apparently based on, at most, a single line of justification. See Decl.

of Dunn-Georgiou ¶ 3, GHC ECF No. 29-1.

      At the district court’s February 25 hearing, government counsel could

not identify a single action Defendants had taken in the twelve days since the

TRO to unfreeze frozen funds, outside the purported waiver process under

which no payments had been made. Critically, as of the government’s stay

motion, Defendants had not disbursed a single dollar of the funds the district

court had ordered unfrozen twelve days earlier. This is not a question, as

Defendants contend (at 7), of withholding payments that are somehow not



3
 See Matt Bai, The Blinding Contempt of the DOGE Bros, Wash. Post (Feb.
24, 2025), https://bit.ly/3D3TnJH.

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proper “while resuming those that are.” Defendants continue to block all

disbursements categorically.

      Defendants’ suggestion that the relief the court ordered by midnight

tonight somehow came as a surprise is fanciful. In its TRO, the court

restrained Defendants from implementing the challenged agency actions by,

among other things, “suspending, pausing, or otherwise preventing the

obligation or disbursement of appropriated foreign-assistance funds” in

connection with awards in place before the freeze. GHC ECF 21, at 14. That is

exactly the relief Plaintiffs sought at the outset, and exactly what the court

repeatedly ordered Defendants to comply with repeatedly following the TRO.

See GHC ECF No. 4-1, at 1–2; GHC, ECF No. 28 (ordering that Defendants

restrained from “suspending, pausing, or otherwise preventing the obligation

or disbursement of appropriated foreign-assistance funds in connection with

any contracts, grants, cooperative agreements, loans, or other federal foreign

assistance award that was in existence as of January 19, 2025.”); GHC, Minute

Order (Feb. 21, 2025) (ordering that Defendants “are to immediately cease

[the blanket suspension of funds] and to take all necessary steps … disburse

all funds”); GHC ECF No. 35, at 2–3 (ordering that Defendants “cannot




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continue to suspend programs or disbursements based on the blanket

suspension that was temporarily enjoined).

      To the extent Defendants now claim that they cannot comply because

disbursing payments “would take multiple weeks,” App. 222, that assertion is

implausible and is one they never made to the district court in the twelve days

the TRO has been in effect. Since the court entered its TRO, Defendants have

put in five different filings in that court. See GHC ECF Nos. 23, 25, 33, 34;

AVAC ECF No. 28. Not once did Defendants raise the prospect that

compliance during the TRO’s duration would be impossible. Nor did

government counsel raise that issue during the hearing the district court held

on Plaintiffs’ motion to enforce seeking precisely the relief the court ordered.

See GHC ECF No. 37. The court could—and would—have considered these

arguments had the government raised them. See GHC ECF No., at 3. In any

event, it makes no sense that the State Department and USAID—which have

had no trouble timely disbursing payments for decades before the unlawful

funding freeze—would now be unable to do so, but for Defendants’ deliberate

efforts to halt payments. The need for factfinding on these disputed questions

illustrates why proceedings should proceed in an orderly fashion in the court




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that has heard the government’s arguments—and evidence—over the past

two weeks.

      Second, the balance of equities would favor Plaintiffs even absent

Defendants’ undue delay. As the district court found, Plaintiffs, their

employees, and those who depend on Plaintiffs’ programming would face

extraordinary and irreversible harm if the funding freeze continues.

      D.     A Stay Would Be Contrary To The Public Interest

      Defendants make no argument about how the public interest favors

their requested stay at all. It was their burden to do so. See KalshiEX LLC v.

Commodity Futures Trading Comm'n, 119 F.4th 58, 63 (D.C. Cir. 2024)

(quoting Nken v. Holder, 556 U.S. 418, 434 (2009)). This failure is an

independent reason to deny their motion.

      Even if Defendants had made a showing on this factor, they would still

lose on it. The public interest overwhelmingly counsels against a stay here.

The government has no interest in “perpetuat[ing] . . . unlawful agency action.”

Open Communities Alliance v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017).

And the public has a strong interest in “ensuring that government agencies

conform to the requirements of the APA” and other federal laws. Gulf Coast

Mar. Supply, Inc. v. United States, 218 F. Supp. 3d 92, 101 (D.D.C. 2016), aff'd,



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867 F.3d 123 (D.C. Cir. 2017). So, in cases like this, the public interest “rises

and falls with the strength of the moving party’s showing on the merits.”

Hanson v. District of Columbia, 120 F.4th 223, 247 (D.C. Cir. 2024) (per

curiam) (citation omitted). As the district court already found, Defendants

likely violated the law here. The public interest thus favors denying a stay,

allowing the district court to enjoin Defendants’ unlawful actions.

      A stay would also have visceral impacts on the public. Plaintiffs have

submitted unrebutted evidence that Defendants’ actions bring their very

existence—and the existence of fellow foreign-aid partners—to the brink. This

industry-wide extinction is sure to have devastating and far-reaching effects

on the American economy. See, e.g., GHC ECF No. 4 at 35–36. Plaintiffs’ work

is also valuable independent of its economic worth. It advances U.S. interests

abroad and improves—and, in many cases, literally saves—the lives of millions

of people across the globe. In doing so, it helps stop problems like disease and

instability overseas, before they reach our shores. Defendants actions are

rapidly bringing Plaintiffs’ work, and its benefits, to crashing halt. See, e.g., id.

at 36–37. Food rotting, Americans out of work, businesses ruined, and critical

medical care withheld. See, e.g. id. at GHC ECF No. 1 at 19–24. These are the

fruits of Defendants’ actions; their motion—like the arbitrary agency actions



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challenged in this case—grapples with none of them.

                                   CONCLUSION

      For the foregoing reasons, the Court should deny a stay and dismiss the

appeal for lack of jurisdiction.



 Dated: February 26, 2025               Respectfully Submitted,

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                     CERTIFICATE OF COMPLIANCE

      I certify, pursuant to Federal Rule of Appellate Procedure 27 and Circuit

Rule 27(c) , that the foregoing opposition contains 6,322 words, excluding the

parts of the document exempted by Federal Rules of Appellate Procedure

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requirements of Federal Rule of Appellate Procedure 32(a)(5) and the type

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Dated: February 26, 2025            Respectfully submitted,

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                      CERTIFICATE OF SERVICE

      I hereby certify that on February 26, 2025, I caused the foregoing

document to be electronically filed using the appellate CM/ECF system. I

certify that all participants in the case are registered CM/ECF users and that

service will be accomplished by the appellate CM/ECF system.



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